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                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

 TRACY RHINE §
                                                    §
 VS. § CIVIL ACTION NO.
                                                    § 3:15-cv-04068-D-BH
 APEX BRANDS, LLC, JEFF WILSON §
 and MICHELLE INU §

                     STIPULATION OF DISMISSAL OF DEFENDANTS

        Plaintiff Tracy Rhine and Defendants Ampex Brands, LLC f/k/a Apex Brands, LLC and

Jeff Wilson file this Stipulation of Dismissal pursuant to FEDERAL RULES OF CIVIL PROCEDURE 41 .

        1. Plaintiff filed suit against Defendants seeking damages based on her employment


with Defendants.


        2. The Parties have reached a settlement, and the Plaintiff now moves to dismiss her


claims against Defendants subject to that agreement.


        3. This case is not a class action nor has a receiver been appointed.


        4. None of the Parties have dismissed a prior action based on or including the same


claims presented in this suit.


        5. Plaintiffs dismissal is with prejudice. Each party has agreed to pay their own


litigation costs, including but not limited to attorneys' fees.


        Dated: ^Q)K. c3 ,2017.




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                                    Respectfully submitted,



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